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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )          No. 6:21-CR-78-REW-HAI
 v.                                               )
                                                  )                    ORDER
 KATELYN DODD,                                    )
                                                  )
       Defendant.                                 )

                                         *** *** *** ***

       After conducting Rule 11 proceedings, see DE 102 (Rearraignment Minute Entry), United

States Magistrate Judge Hanly A. Ingram recommended that the undersigned accept Defendant

Katelyn Dodd’s guilty plea and adjudge her guilty of Count One of the Second Superseding

Indictment. See DE 103 at 2 (Recommendation); see also DE 105 (Plea Agreement); DE 41 (Second

Superseding Indictment). Judge Ingram expressly informed Defendant of her right to object to the

Recommendation and secure de novo review. See DE 103 at 3. The established, three-day objection

deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn,

106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019) (noting

that the Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in his

objections to the magistrate[ judge]’s report and recommendation . . . he has forfeited his right to

raise this issue on appeal.’”) (quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996) (quote

brackets simplified)); United States v. Olano, 133 S. Ct. 1770, 1777 (1993) (distinguishing waiver

and forfeiture); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection” filed);



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28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the recommendation “to

which objection is made”).

        The Court thus, with no objection from any party and on full review of the record, ORDERS

as follows:

        1. The Court ADOPTS DE 103, ACCEPTS Defendant’s guilty plea, and ADJUDGES

              Defendant guilty of Count One of the Second Superseding Indictment (DE 41);

        2. Further, per Judge Ingram’s unopposed recommendation and Defendant’s agreement

              (DE 105 at ¶ 10), the Court provisionally FINDS that the property identified in the

              Second Superseding Indictment (DE 41 at 4) is forfeitable and that Defendant has an

              interest in said property, and preliminarily ADJUDGES Defendant’s interest in such

              property FORFEITED. Under Criminal Rule 32.2, and absent pre-judgment objection,

              “the preliminary forfeiture order becomes final as to” Defendant at sentencing. Fed. R.

              Crim. P. 32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at

              (b)(4)(B);

        3. The Court CANCELS the jury trial in this matter; and

        4. The Court will issue a separate sentencing order. 1

        This the 6th day of July, 2022.




1
 Upon concluding the hearing, Judge Ingram remanded Dodd to the United States Marshal pending
sentencing. See DE 102 (Rearraignment Minute Entry). This was Dodd’s status initially, see DE 19
(detention order); 51 (Initial Appearance Minute Entry), so the Court sees no need to further address
detention at this time; Dodd shall remain detained pending sentencing.
                                                 2
